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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                           CASE NO. 24-80116-CR-CANNON/McCabe



  UNITED STATES OF AMERICA

  v.

  RYAN WESLEY ROUTH,

                 Defendant
                                                    /

                     UNITED STATES NOTICE OF CLASSIFIED FILING

         The United States, by and through the undersigned attorneys, hereby provides notice that

  on April 7, 2025, the United States filed a classified, ex parte, in camera, and sealed Motion for a

  Protective Order Pursuant to the Classified Information Procedures Act (“CIPA”) Section 4 and

  Fed. R. Crim. P. 16(d)(1), in coordination with the Classified Information Security Officer. An

  unclassified cover sheet for the Motion is attached hereto.



                                                   Respectfully submitted,

                                                   HAYDEN P. O’BYRNE
                                                   UNITED STATES ATTORNEY

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                                  CERTIFICATE OF SERVICE

         I certify that on April 7, 2025, I electronically filed the foregoing document with the
  Clerk of Court using CM/ECF.



                                                       /s/ John Cella
                                                       John Cella




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